                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION


 UNITED STATES OF AMERICA,
               Plaintiff,                                No. 11-CR-143-LRR
 vs.                                                           ORDER
 TERELL LAMONTE ARMSTEAD,
               Defendant.

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       The matter before the court is Magistrate Judge Jon S. Scoles’s Report and
Recommendation (docket no. 135). On December 1, 2011, Defendant Terell Lamonte
Armstead filed a “Motion to Suppress Evidence and Request for Evidentiary Hearing”
(“Motion”) (docket no. 126). In the Motion, Defendant contends that the court should
suppress all evidence obtained during a traffic stop and all evidence obtained when the
police subsequently detained and interrogated Defendant. On December 9, 2011, the
government filed a Response (docket no. 131). In the Response, the government, without
conceding that the search and seizure was illegal, agreed to not offer the evidence
Defendant seeks to suppress. On December 13, 2011, Judge Scoles issued the Report and
Recommendation, which recommends that the court deny the Motion as moot. The Report
and Recommendation states that “within fourteen (14) days after being served with a copy
of this Report and Recommendation, any party may serve and file written objections with
the district court.” Report and Recommendation at 4.
       The time to object to the Report and Recommendation has expired and neither party
has filed any objections. The parties have thus waived their right to de novo review of the
Report and Recommendation. See, e.g., United States v. Newton, 259 F.3d 964, 966 (8th
Cir. 2001) (“‘Appellant’s failure to file any objections waived his right to de novo review
by the district court of any portion of the report and recommendation of the magistrate


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judge as well as his right to appeal from the findings of fact contained therein.’” (quoting
Griffini v. Mitchell, 31 F.3d 690, 692 (8th Cir. 1994))). The court finds no plain error in
Judge Scoles’s decision.        Accordingly, the court ADOPTS the Report and
Recommendation (docket no. 135). The Motion to Suppress (docket no. 126) is DENIED
AS MOOT.
       IT IS SO ORDERED.
       DATED this 29th day of December, 2011.




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